         Case 3:13-cv-01045-SI        Document 151-4        Filed 08/07/14     Page 1 of 64




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Attorneys for Plaintiff and Counter-defendant Calista Enterprises Ltd.

                            UNITED STATES DISTRICT COURT
                       DISTRICT OF OREGON – PORTLAND DIVISION



CALISTA ENTERPRISES LTD.,                           Case No. 3:13-cv-01045-SI
a Republic of Seychelles company,
                                                    EXHIBIT B – PART II
   Plaintiff,                                       TO PLAINTIFF’S FIRST AMENDED
                                                    COMPLAINT
- v. -

TENZA TRADING LTD.,
a Cyprus company,

   Defendant.


Val Gurvits | Matthew Shayefar | Boston Law Group, PC                                              Page 1
825 Beacon Street, Suite 20 | Newton Centre, MA 02459                    Exhibit B – Part II to Plaintiff’s
617-928-1800 | vgurvits@bostonlawgroup.com | matt@bostonlawgroup.com          First Amended Complaint
         Case 3:13-cv-01045-SI        Document 151-4        Filed 08/07/14    Page 2 of 64




TENZA TRADING LTD.,
a Cyprus company,

   Counterclaim Plaintiff,

- v. -

CALISTA ENTERPRISES LTD.,
a Republic of Seychelles company, and
ALEXANDER ZHUKOV,
a Czechoslovakian citizen,

   Counterclaim Defendants.




Respectfully Submitted,                             Dated: August 7, 2014
Plaintiff Calista Enterprises Ltd.
By its Attorneys,

/s/ Matthew Shayefar                                /s/ Evan Fray-Witzer
Matthew Shayefar (pro hac vice)                     Evan Fray Witzer (pro hac vice)
Valentin Gurvits (pro hac vice)                     Ciampa Fray-Witzer, LLP
Boston Law Group, PC                                20 Park Plaza, Suite 505
825 Beacon Street, Suite 20                         Boston, Massachusetts 02116
Newton Centre, Massachusetts 02459                  Tel: (617) 426-0000
Tel: (617) 928-1800                                 Fax: (617) 507-8043
Fax: (617) 928-1802                                 evan@CFWLegal.com
matt@bostonlawgroup.com
vgurvits@bostonlawgroup.com                         /s/ Thomas Freedman Jr.
                                                    Thomas Freedman Jr. (OSB No. 080697)
/s/ Sean Ploen                                      Pearl Law LLC
Sean Ploen (pro hac vice)                           552 SW 5th Avenue, Suite 1100
Ploen Law Firm, PC                                  Portland, Oregon 97204
100 South Fifth Street, Suite 1900                  Tel: (503) 295-6296
Minneapolis, MN 55402                               Fax: (503) 295-6344
Tel: (651) 894-6800                                 thomas@prllaw.com
Fax: (651) 894-6801
sploen@ploen.com



Val Gurvits | Matthew Shayefar | Boston Law Group, PC                                             Page 2
825 Beacon Street, Suite 20 | Newton Centre, MA 02459                   Exhibit B – Part II to Plaintiff’s
617-928-1800 | vgurvits@bostonlawgroup.com | matt@bostonlawgroup.com         First Amended Complaint
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                    ANNEX 9




                                                                         Ex. B - p. 56
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PTO Form 1957 (Rev 9/2005)
OMB No. 0651-0050 (Exp. 05/31/2014)


                                            Response to Office Action


                                      The table below presents the data as entered.

          Input Field                                              Entered
 SERIAL NUMBER                         77641541
 LAW OFFICE
                                       LAW OFFICE 108
 ASSIGNED
 MARK SECTION (no change)
 ARGUMENT(S)
 In response to the Examiner’s refusal to register the currently pending mark while relying on
 Section 2(d) and US Trademark Registration No. 3936197 for PORNTUBE, Applicant offers
 the following:
 Applicant and the holder of US Trademark Registration No. 3936197 executed a consent
 agreement which was finalized on February 1, 2011 regarding the registration of the marks
 currently at issue (Application Ser. No. 77/641,541 for PORNOTUBE and Application Ser. No.
 77/603,111 for PORNTUBE) and agreed that:
 1. Both parties recognized the validity of each others use of their respective marks in
 connection with their respective goods and services and wish to avoid any conflict with the
 others use or registration of its mark
 2. Both parties met, conferred and agreed regarding a mutual consent to register and wish to
 prevent any likelihood of confusion
 3. Due to the nature of the services of the Parties, the differences in the services provided,
 and the sophistication of users in the marketplace, namely online users, the parties believe
 that no confusion will result if both parties use their respective trademarks in connection with
 their respective services. In the highly unlikely event that confusion does arise, the Parties
 agree to cooperate to take steps to alleviate any such confusion.
 4. The Parties affirmatively declare and state that no confusion has occurred to date despite
 continuous use of the respective marks by both parties. The Parties have both been
 continuously using their respective marks simultaneously in the marketplace for over four (4)
 years and have not documents one instance of public confusion or mistake in the origin of the
 services provided and believe this supports the contention that no likelihood of confusion will
 be, or has been, created by the coexistence of these marks in the marketplace.
 5. The Parties understand the nature of the internet, including the various audiences and
 channels of trade, and have arranged to work together in a manner that addresses any
 concerns regarding likelihood of confusion. With such arrangement, the Parties do not believe
 confusion is likely to result especially in light of the fact that there has been an extended period
 of co-existence, during which time confusion did not result.
 A copy of the consent agreement accompanies this response.

 Additionally, Applicant has also secured registration of the identical mark PORNOTUBE as US
 Trademark Ser. No 85/232,484. In light of the above evidence, Applicant respectfully requests
 that the Examiner withdraw the Section 2(d) refusal and that the currently pending mark be
 allowed.
 EVIDENCE SECTION


                                                                                                   Ex. B - p. 57
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       EVIDENCE FILE NAME(S)

                                      evi_66496957-
      ORIGINAL PDF FILE
                                      103850265_._Consent__Coexistence_Agreement_02012011.pdf
    CONVERTED PDF
 FILE(S)                              \\TICRS\EXPORT11\IMAGEOUT11\776\415\77641541\xml2\ROA0002.JPG
    (5 pages)

                                      \\TICRS\EXPORT11\IMAGEOUT11\776\415\77641541\xml2\ROA0003.JPG

                                      \\TICRS\EXPORT11\IMAGEOUT11\776\415\77641541\xml2\ROA0004.JPG
                                      \\TICRS\EXPORT11\IMAGEOUT11\776\415\77641541\xml2\ROA0005.JPG

                                      \\TICRS\EXPORT11\IMAGEOUT11\776\415\77641541\xml2\ROA0006.JPG
 DESCRIPTION OF
 EVIDENCE FILE
                                      A copy of the executed consent agreement

 SIGNATURE SECTION
 RESPONSE SIGNATURE                   /blake e vande garde/
 SIGNATORY'S NAME                     Blake E. Vande Garde
 SIGNATORY'S
 POSITION
                                      Attorney of record, Kansas

 SIGNATORY'S PHONE
 NUMBER
                                      704-927-0400

 DATE SIGNED                          03/26/2012
 AUTHORIZED
 SIGNATORY
                                      YES

 FILING INFORMATION SECTION
 SUBMIT DATE                          Mon Mar 26 10:55:53 EDT 2012
                                      USPTO/ROA-66.49.69.57-201
                                      20326105553678736-7764154
 TEAS STAMP                           1-490c99b3db49a24a7a9fadc
                                      8e998e25b10-N/A-N/A-20120
                                      326103850265264




PTO Form 1957 (Rev 9/2005)
OMB No. 0651-0050 (Exp. 05/31/2014)




                           Response to Office Action
To the Commissioner for Trademarks:



                                                                                                       Ex. B - p. 58
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Application serial no. 77641541 has been amended as follows:

ARGUMENT(S)
In response to the substantive refusal(s), please note the following:


In response to the Examiner’s refusal to register the currently pending mark while relying on
Section 2(d) and US Trademark Registration No. 3936197 for PORNTUBE, Applicant offers the
following:
Applicant and the holder of US Trademark Registration No. 3936197 executed a consent
agreement which was finalized on February 1, 2011 regarding the registration of the marks
currently at issue (Application Ser. No. 77/641,541 for PORNOTUBE and Application Ser. No.
77/603,111 for PORNTUBE) and agreed that:
1. Both parties recognized the validity of each others use of their respective marks in connection
with their respective goods and services and wish to avoid any conflict with the others use or
registration of its mark
2. Both parties met, conferred and agreed regarding a mutual consent to register and wish to
prevent any likelihood of confusion
3. Due to the nature of the services of the Parties, the differences in the services provided, and
the sophistication of users in the marketplace, namely online users, the parties believe that no
confusion will result if both parties use their respective trademarks in connection with their
respective services. In the highly unlikely event that confusion does arise, the Parties agree to
cooperate to take steps to alleviate any such confusion.
4. The Parties affirmatively declare and state that no confusion has occurred to date despite
continuous use of the respective marks by both parties. The Parties have both been
continuously using their respective marks simultaneously in the marketplace for over four (4)
years and have not documents one instance of public confusion or mistake in the origin of the
services provided and believe this supports the contention that no likelihood of confusion will be,
or has been, created by the coexistence of these marks in the marketplace.
5. The Parties understand the nature of the internet, including the various audiences and
channels of trade, and have arranged to work together in a manner that addresses any concerns
regarding likelihood of confusion. With such arrangement, the Parties do not believe confusion
is likely to result especially in light of the fact that there has been an extended period of co-
existence, during which time confusion did not result.
A copy of the consent agreement accompanies this response.

Additionally, Applicant has also secured registration of the identical mark PORNOTUBE as US
Trademark Ser. No 85/232,484. In light of the above evidence, Applicant respectfully requests
that the Examiner withdraw the Section 2(d) refusal and that the currently pending mark be
allowed.

EVIDENCE
Evidence in the nature of A copy of the executed consent agreement has been attached.
Original PDF file:
evi_66496957-103850265_._Consent__Coexistence_Agreement_02012011.pdf
Converted PDF file(s) (5 pages)
Evidence-1
Evidence-2
Evidence-3
Evidence-4
Evidence-5

SIGNATURE(S)
Response Signature


                                                                                              Ex. B - p. 59
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Signature: /blake e vande garde/ Date: 03/26/2012
Signatory's Name: Blake E. Vande Garde
Signatory's Position: Attorney of record, Kansas

Signatory's Phone Number: 704-927-0400

The signatory has confirmed that he/she is an attorney who is a member in good standing of the bar of the
highest court of a U.S. state, which includes the District of Columbia, Puerto Rico, and other federal
territories and possessions; and he/she is currently the applicant's attorney or an associate thereof; and to
the best of his/her knowledge, if prior to his/her appointment another U.S. attorney or a Canadian
attorney/agent not currently associated with his/her company/firm previously represented the applicant in
this matter: (1) the applicant has filed or is concurrently filing a signed revocation of or substitute power
of attorney with the USPTO; (2) the USPTO has granted the request of the prior representative to
withdraw; (3) the applicant has filed a power of attorney appointing him/her in this matter; or (4) the
applicant's appointed U.S. attorney or Canadian attorney/agent has filed a power of attorney appointing
him/her as an associate attorney in this matter.


Serial Number: 77641541
Internet Transmission Date: Mon Mar 26 10:55:53 EDT 2012
TEAS Stamp: USPTO/ROA-66.49.69.57-201203261055536787
36-77641541-490c99b3db49a24a7a9fadc8e998
e25b10-N/A-N/A-20120326103850265264




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 SEARCH DOMAINS             SEARCH WHOIS




         Search WHOIS Records

                 Search the WHOIS Database
                 Include the TLD (i.e. .com, .net, etc.)

                  alexz-traffic.com                                           Type the tw o w ords:




                                                               RUN W HOI S




Registration and WHOIS Service provided by Directnic.com

DNC Holdings, Inc. provides the data in the Directnic.com Registrar WHOIS
database for informational purposes only. The information may only be
used to assist in obtaining information about a domain name's registration
record. The use of this data for any other purpose without prior written
consent by DNC Holdings, Inc. is expressly forbidden.

By submitting a WHOIS query, you agree to all the terms and limitations
herein and that you will use this data only for lawful purposes. You also
agree that under no circumstances will you use this data to:
(a) allow, enable, or otherwise support the transmission by email,
telephone, or facsimile of mass, unsolicited, commercial advertising or
solicitations, including, but not limited to, spam, to entities other than
the data recipient's own existing customers;
(b) enable high volume, automated, electronic processes that send queries
or data to the systems of any Registry Operator or ICANN-accredited
registrar or
(c) enable any automated or robotic processes to collect or compile data
for any purpose, including data mining.

DNC Holdings makes this information available "as is", and provides no guarantee
or warranty as to its accuracy.


Registrant:
 Calista Enterprises Ltd.
 Global Gateway 1749,
 Rue de la Perle

Providence, Mahe 10000
SC
+420774806357


Domain Name: ALEXZ-TRAFFIC.COM

Administrative Contact:
 Ltd., Calista Enterprises webmaster@alexz-traffic.com
 Global Gateway 1749,
 Rue de la Perle
 Providence, Mahe 10000
 SC
 +420774806357


Technical Contact:
 Ltd., Calista Enterprises webmaster@alexz-traffic.com
 Global Gateway 1749,
 Rue de la Perle
 Providence, Mahe 10000
 SC
 +420774806357

                                                                                                                      Ex. B - p. 85
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Record last updated 04-28-2012 07:42:12 PM
Record expires on 03-09-2015
Record created on 03-09-2006

Domain servers in listed order:
NS0.AZ7T1.COM 194.187.96.142
NS1.AZ7T1.COM 194.187.96.144


The compilation, repackaging, dissemination, or other use of this WHOIS
data is expressly prohibited without the prior written consent of
DNC Holdings, Inc.

DNC Holdings reserves the right to terminate your access to its WHOIS
database in its sole discretion, including without limitation, for
excessive querying of the database or for failure to otherwise abide by
this policy.

DNC Holdings reserves the right to modify these terms at any time.

NOTE: THE WHOIS DATABASE IS A CONTACT DATABASE ONLY.
LACK OF A DOMAIN RECORD DOES NOT SIGNIFY DOMAIN AVAILABILITY.




                                Serving Customers Since 2000              Payment Options:




                                                                                                                 Ex. B - p. 86
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                                                   www.alexz-traffic.com
                                                   Traffic trade | Link removal | Abuse | Contact us


BBW Sites:
URL:                         Title:                                           Type:               Traffic:    Trade:

fattythumbs.com              Fatty Thumbs                                         Thumb TGP       Alexa            signup
hqplumpers.com               HQ Plumpers                                          Thumb TGP       Alexa            signup
morefatties.com              More Fatties                                         Thumb TGP       Alexa            signup
mysweetfatty.com             My Sweet Fatty                                       Thumb TGP       Alexa            signup
wildfatties.com              Wild Fatties                                         Thumb TGP       Alexa            signup

yourbbw.com                  Your BBW                                             Thumb TGP       Alexa            signup


Big Tits Sites:
URL:                         Title:                                           Type:               Traffic:    Trade:

hqboobs.com                  HQ Boobs                                             TUBE            Alexa            signup


Ebony Sites:
URL:                         Title:                                           Type:               Traffic:    Trade:
brownmaids.com               Brown Maids                                          Thumb TGP       Alexa            signup
sinfulblacks.com             Sinful Blacks                                        Thumb TGP       Alexa            signup

spicyblackgirls.com          Spicy Black Girls                                    Thumb TGP       Alexa            signup


General Sites:
URL:                         Title:                                           Type:               Traffic:    Trade:

azgals.com                   AZ Gals                                              Thumb TGP       Alexa            signup

bestpics4you.com             Best Pics 4 You                                      Thumb TGP       Alexa            signup

jerkroom.com                 Jerk Room                                            Thumb TGP       Alexa            signup

midnightfever.com            Midnight Fever                                       TUBE            Alexa            signup

porntiki.com                 Porn Tiki                                            TUBE            Alexa            signup


Hairy Sites:
URL:                         Title:                                           Type:               Traffic:    Trade:

hairycave.com                Hairy Cave                                           Thumb TGP       Alexa            signup

hairycorner.com              Hairy Corner                                         Thumb TGP       Alexa            signup

unshavedcuties.com           Unshaved Cuties                                      Thumb TGP       Alexa            signup


                                                                                                                  Ex. B - p. 88
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Mature Sites:
URL:                            Title:                                          Type:              Traffic:           Trade:

agedmamas.com                   Aged Mamas                                         Thumb TGP       Alexa                  signup

alexmatures.com                 Alex Matures                                       Thumb TGP       Alexa                  signup

bangedmamas.com                 Banged Mamas                                       Thumb TGP       Alexa                  signup

deluxewifes.com                 Deluxe Wifes                                       Thumb TGP       Alexa                  signup

gracefulmilf.com                Graceful MILF                                      Thumb TGP       Alexa                  signup

gracefulmom.com                 Graceful Mom                                       Thumb TGP       Alexa                  signup

magicmatures.com                Magic Matures                                      Thumb TGP       Alexa                  signup

momsecstasy.com                 Moms Ecstasy                                       Thumb TGP       Alexa                  signup

olderkiss.com                   Older Kiss                                         Thumb TGP       Alexa                  signup

womeninyears.com                Women In Years                                     Thumb TGP       Alexa                  signup

maturezilla.com                 Mature Zilla                                       TUBE            Alexa                  signup


Shemale Sites:
URL:                            Title:                                          Type:              Traffic:           Trade:

lustoftranny.com                Lust Of Tranny                                     Thumb TGP       Alexa                  signup

transpleasure.com               Trans Pleasure                                     Thumb TGP       Alexa                  signup


Toon Sites:
URL:                            Title:                                          Type:              Traffic:           Trade:

friskytoons.com                 Frisky Toons                                       Thumb TGP       Alexa                  signup

hellotoons.com                  Hello Toons                                        Thumb TGP       Alexa                  signup

hqtoons.com                     HQ Toons                                           Thumb TGP       Alexa                  signup

toonberry.com                   Toon Berry                                         Thumb TGP       Alexa                  signup

toongold.com                    Toon Gold                                          Thumb TGP       Alexa                  signup

toonsband.com                   Toons Band                                         Thumb TGP       Alexa                  signup



Signup for trade

Trade rules:

   1. No illegal sites.
   2. No sites with young looking models. Feed your site with some mature traffic. It helps.
   3. No consoles/popunders.
   4. No subdomains, IPs, freehosts, any country or language redirect.
   5. Please don't send me a lot of China, Turkey, Egypt, India, etc. traffic. Visitors from bad countries just not counted.
   6. Your site must have visible toplist. And you must have 50-100 trades already.
   7. I prefer not to trade with sites with thumbs over 240x180.
   8. Minimal skim is 60%
   9. Your productivity must be over 120% (including clicks to galleries). I will remove trades with productivity under 100% WITHOUT
      NOTICE!!!
  10. New trades are disabled by default. Just send 100-150 hits in 24 hours and I will review your site.

E-Mail: webmaster(AT)alexz-traffic(DOT)com


                                                                                                                        Ex. B - p. 89
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Trade with            Please select the sites

Domain

Url

Title

Email

ICQ

Nickname

Password

Short description


                                                       Add Trade




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                   ANNEX 14




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                   ANNEX 17




                                                                          Ex. B - p. 103
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LargePornTube.com




KissPornTube.com




GoldPornTube.com




BoxPornTube.com




                                          1

                                                                                   Ex. B - p. 104
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PipePornTube.com




69PornTube.com




RoyalPornTube.com




BookPornTube.com




                                          2

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CubePornTube.com




FreshPornTube.com




LustPornTube.com




BonusPornTube.com




DirectPornTube.com




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   Log In to My Account      or Create Account                                                                                                     24/7 Support: (480) 505-8877                   Support
                                                                                                                                                                  Hablamos Español


                                                                                                                                                                 Commercials | Deals | Bob's Blog

                                       0           Find Your                Build your             Get website                    Grow with
   All Products ▼              Cart ▼                                                                                                                                 WHOIS Domain Check
                                                    Domain                  Website                 Hosting                       Web Tools


 WHOIS search results for:                                                                    Is this your                                                Want to buy
 PORNTUBE.COM                                                                                 domain?                                                     this domain?
 (Registered)                                                                                 Add hosting, email and more.                                Get it w ith our Domain Buy service.




The data contained in GoDaddy.com, LLC's WHOIS database,
while believed by the company to be reliable, is provided "as is"
                                                                                              Domain already taken?
with no guarantee or warranties regarding its accuracy. This
information is provided for the sole purpose of assisting you
in obtaining information about domain name registration records.                                 Enter domain name                                              .com               ▼          Search
Any use of this data for any other purpose is expressly forbidden without the prior written
permission of GoDaddy.com, LLC. By submitting an inquiry,
you agree to these terms of usage and limitations of warranty. In particular,
you agree not to use this data to allow, enable, or otherwise make possible,
dissemination or collection of this data, in part or in its entirety, for any
purpose, such as the transmission of unsolicited advertising and                                         NameMatch Recommendations
solicitations of any kind, including spam. You further agree
not to use this data to enable high volume, automated or robotic electronic                   GoDaddy.com NameMatch has found similar domain names related to your search.
processes designed to collect or compile this data for any purpose,                           Registering multiple domain names may help protect your online brand and enable you to
including mining this data for your own personal or commercial purposes.                      capture more Web traffic, which you can then direct to your primary domain.

Please note: the registrant of the domain name is specified                                   Domains available for new registration:
in the "registrant" field. In most cases, GoDaddy.com, LLC
is not the registrant of domain names listed in this database.                                       Sim ilar Prem ium Dom ains
                                                                                                     TubeInc.com                                                                            $515.00*
                                                                                                     TubeFan.com                                                                            $3,588.00*
Registered through: GoDaddy.com, LLC (http://www.godaddy.com)
Domain Name: PORNTUBE.COM
Created on: 29-Nov-04
Expires on: 29-Nov-19
Last Updated on: 22-Jan-12
                                                                                              Domains available at Go Daddy Auctions®:
Registrant:
Domains By Proxy, LLC                                                                                tubetechnology.com
                                                                                                     Ends on: 6/26/2013 12:50:00 PM PDT                                                     $1,682.00*
DomainsByProxy.com                                                                                   tubegear.com
14747 N Northsight Blvd Suite 111, PMB 309                                                           Ends on: 6/26/2013 9:31:00 AM PDT                                                      $3,688.00*
Scottsdale, Arizona 85260
United States                                                                                        tubecenter.com
                                                                                                     Ends on: 6/26/2013 9:09:00 AM PDT                                                      $4,088.00*
Administrative Contact:
                                                                                                     tubeaxialfans.com
Private, Registration PORNTUBE.COM@domainsbyproxy.com
                                                                                                     Ends on: 5/31/2013 9:45:00 AM PDT                                                      $999.00*
Domains By Proxy, LLC
DomainsByProxy.com                                                                                   quartztube.com
14747 N Northsight Blvd Suite 111, PMB 309                                                           Ends on: 5/30/2013 12:45:00 PM PDT                                                     $1,799.00*
Scottsdale, Arizona 85260
United States                                                                                        tubeadapters.com
(480) 624-2599 Fax -- (480) 624-2598                                                                 Ends on: 5/30/2013 11:15:00 AM PDT                                                     $650.00*


Technical Contact:
Private, Registration PORNTUBE.COM@domainsbyproxy.com
Domains By Proxy, LLC
DomainsByProxy.com
14747 N Northsight Blvd Suite 111, PMB 309                                                     Learn more about
Scottsdale, Arizona 85260
United States                                                                                  Private Registration                                       Deluxe Registration
(480) 624-2599 Fax -- (480) 624-2598                                                           Business Registration                                      Protected Registration

Domain servers in listed order:
NS0.REFLECTED.NET
NS1.REFLECTED.NET                                                                              *Plus ICANN f ee of $0.18 per domain name y ear.
                                                                                               **.CA domain names will be registered through Go Daddy Domains Canada, Inc., a CIRA certif ied registrar.


Registry Status: clientDeleteProhibited
Registry Status: clientRenewProhibited
Registry Status: clientTransferProhibited
Registry Status: clientUpdateProhibited


See Underlying Registry Data
Report Invalid Whois




                                                                                                                                                                                  Ex. B - p. 108
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     Enter a domain name to search                                                      .com




Go Daddy Global
Language: English                        Country: United States                                                Currency: United States Dollar $ (Transactional)


Account Manager       Shopping             Resources                      Support                      About Go Daddy              Mobile                          Global Sites
My Account            Dom ain Search       Webm ail                       Telephone Support & Sales    About Us                    Go Daddy, on the GO!            Go Daddy (English)
My Renew als          Web Hosting          WHOIS search                   Product Support              New s Releases              iPhone Application              Go Daddy (Español)
Order History         Product Catalog      ICANN Confirm ation            Discussion Forum s           Careers                     iPad Application                Go Daddy Australia
Create Account        Go Daddy Gear        Affiliates                     User Groups                  Go Daddy Cares              Android Application             Go Daddy Canada
                      Deals of the Day     Follow & Fan Us                Subm it Support Ticket       Marketing Opportunities     Visit Go Daddy Mobile           Go Daddy India
                                           Legal                          Site Suggestions             Custom er Testim onials                                     Go Daddy United Kingdom
                                           Sm all Business Center         Report Abuse                 Security Center
                                           Site Map                                                    .ME Scholarship
                                                                                                       Round Up for Charity        Sign Up for Special Offers
Follow & Fan Us                                                                                        Bob's Video Blog
                                                                                                                                    Email Address                                 Submit
                                                                                                       Inside Go Daddy



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                                                                                          Legal Privacy Policy
                 GoDaddy.com is the w orld's No. 1 ICANN-accredited domain name registrar for .COM, .NET, .ORG, .INFO, .BIZ and .US domain extensions. Source: RegistrarSTATS.com

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